
300 Multiple Choices

Multiple Choices
The document name you requested (/attorneys/assets/opinions/appellate/unpublished/a5135-14.pdf) could not be found on this server.
However, we found documents with names similar to the one you requested.Available documents:

/attorneys/assets/opinions/appellate/unpublished/a5153-14.pdf (transposed characters)
/attorneys/assets/opinions/appellate/unpublished/a5315-14.pdf (transposed characters)
/attorneys/assets/opinions/appellate/unpublished/a5135-13.pdf (mistyped character)
/attorneys/assets/opinions/appellate/unpublished/a5136-14.pdf (mistyped character)
/attorneys/assets/opinions/appellate/unpublished/a5131-14.pdf (mistyped character)
/attorneys/assets/opinions/appellate/unpublished/a5139-14.pdf (mistyped character)
/attorneys/assets/opinions/appellate/unpublished/a5635-14.pdf (mistyped character)
/attorneys/assets/opinions/appellate/unpublished/a5132-14.pdf (mistyped character)
/attorneys/assets/opinions/appellate/unpublished/a5185-14.pdf (mistyped character)
/attorneys/assets/opinions/appellate/unpublished/a5235-14.pdf (mistyped character)
/attorneys/assets/opinions/appellate/unpublished/a5134-14.pdf (mistyped character)


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